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17                               UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF CALIFORNIA
18                                  SAN FRANCISCO DIVISION
19
     ANATOLY SOROKIN,                               Case No. 3:21-cv-03576-WHO
20
                 Plaintiff,
21       v.
                                                    DEFENDANTS’ NOTICE OF
22   HDR GLOBAL TRADING LIMITED                     MOTION AND MOTION TO DISMISS
     (A.K.A. BitMEX), ABS GLOBAL                    PLAINTIFF’S SECOND AMENDED
23   TRADING LIMITED, ARTHUR HAYES,                 COMPLAINT; MEMORANDUM OF
     and SAMUEL REED,                               POINTS AND AUTHORITIES IN
24                                                  SUPPORT THEREOF
                     Defendants.
25                                                  Date:    March 2, 2022
                                                    Time:    2:00 p.m.
26                                                  Ctrm:    2 – 17th Floor
                                                    Judge:   Honorable William H. Orrick
27

28

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 1                                        NOTICE OF MOTION
 2          PLEASE TAKE NOTICE that at 2:00 p.m. on March 2, 2022, before the Honorable
 3   William H. Orrick, in Courtroom 2, 17th Floor, San Francisco Courthouse, 450 Golden Gate
 4   Avenue, San Francisco, California 94102, defendants HDR Global Trading Limited (“HDR”),
 5   ABS Global Trading Limited (“ABS”), Arthur Hayes, and Samuel Reed (together, “Defendants”),
 6   will and hereby do move to dismiss the Second Amended Complaint (ECF No. 30) pursuant to
 7   rules 12(b)(1) and 12(b)(6) of the Federal Rules of Civil Procedure on the grounds stated below.
 8          The Motion is based on this Notice of Motion, the Memorandum of Points and Authorities
 9   in support of this Motion, the Proposed Order, Defendants’ Request for Judicial Notice, and the
10   Declaration of Stephen D. Hibbard filed concurrently herewith, the pleadings and records on file
11   in this action, and upon such other matters as may be presented to the Court at or prior to the
12   hearing on this Motion.
13                                        RELIEF REQUESTED
14          The Second Amended Complaint should be dismissed pursuant to Federal Rules of Civil
15   Procedure 12(b)(1) and 12(b)(6).
16
      DATED: December 17, 2021                        Respectfully submitted,
17
                                                      JONES DAY
18

19
                                                      By: /s/ Stephen D. Hibbard
20                                                         Stephen D. Hibbard
21                                                    Counsel for Defendants
                                                      HDR GLOBAL TRADING LIMITED and
22                                                    ABS GLOBAL TRADING LIMITED
23

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12                                          Counsel for Defendant
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 1   I.     INTRODUCTION
 2          On September 7, 2021, this Court dismissed with prejudice the complaint in an action
 3   alleging that Defendants fraudulently induced the plaintiffs to use an offshore cryptocurrency
 4   derivatives trading platform called BitMEX. In that action—BMA v. HDR Global Trading Ltd.,
 5   No. 20-cv-3345—the Court held among other things that the plaintiffs—represented by the same
 6   counsel here—failed to allege with particularity the existence of any misrepresentation, or that
 7   any such misrepresentation induced the plaintiffs’ losses arising from their use of the platform,
 8   which allows users to speculate on the future price of cryptocurrencies such as Bitcoin and
 9   Ethereum by opening trading positions up to 100 times larger than the amounts they commit to
10   those positions. The Court afforded the BMA plaintiffs repeated opportunities to remedy the
11   defects in their pleadings. But instead of fixing those flaws, the plaintiffs pivoted from one
12   deficient theory to the next with each amendment—moving initially from a far-fetched market
13   manipulation theory to an equally defective fraudulent inducement theory based on
14   representations about the platform’s trading arm and the liquidity of its market for certain
15   cryptocurrency derivatives compared to other cryptocurrency platforms. This Court dismissed
16   the BMA action with prejudice.
17          This case is more of the same. It is one of the latest in a long line of harassing lawsuits
18   brought by the same plaintiffs’ counsel alleging the same core theories against the same
19   defendants. In its order dismissing the BMA case with prejudice, this Court already noted that
20   Plaintiff Sorokin’s complaint was “substantially similar” to the complaint in BMA, as Plaintiff’s
21   counsel copied and pasted large portions of the BMA complaint, which in turn had copied and
22   pasted portions of a complaint filed in another federal court by different lawyers. The complaint
23   here swaps in a different plaintiff—the sixth one represented by Plaintiff’s counsel in this Court
24   alone—while retaining the same deficiencies that doomed the BMA complaint.
25          If anything, Plaintiff’s complaint is even more deficient than the ones that came before.
26   Plaintiff’s counsel now prioritizes state-law fraudulent inducement claims tied to the BitMEX
27   Terms of Service, dropping many of the federal claims originally pleaded in BMA and burying the
28   remainder. But Plaintiff’s allegations under both state and federal law are barred by the Terms’
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 1   choice-of-law clause mandating the application of English law. And regardless of choice of law,
 2   Plaintiff’s allegations remain conclusory and largely rest on neither information and belief nor
 3   personal knowledge, and so must be dismissed as lacking particularity or any factual basis. In
 4   fact, although Plaintiff claims that Defendants’ purported misconduct resulted in liquidations of
 5   BitMEX users’ trading positions generally, Plaintiff prevaricates and fails to allege specifically
 6   that his own positions were actually liquidated as opposed to being voluntarily closed. Even after
 7   Plaintiff twice amended his complaint, these defects persist. Given these and other defects
 8   discussed below, and Plaintiff’s continued wasting of judicial resources by filing the same
 9   deficient claims, this Court should dismiss this action with prejudice as it did in BMA.
10   II.    STATEMENT OF THE ISSUES
11          1.      Whether Plaintiff’s federal and state-law claims are barred by the choice-of-law
12   clause in BitMEX’s Terms of Service mandating the application of English law.
13          2.      Whether Plaintiff’s fraud claims—and thus, the causes of action that are based on
14   such claims—fail when the complaint lacks any particular facts showing that any Defendant
15   engaged in any fraudulent conduct, regardless of the choice-of-law clause.
16          3.      Whether Plaintiff fails to allege particular facts showing that any purported
17   fraudulent conduct caused losses to him.
18          4.      Whether Plaintiff’s remaining claims meet baseline pleading requirements.
19   III.   BACKGROUND
20          Plaintiff’s complaint is one of the latest in a series of complaints filed in both federal and
21   state court by overseas traders of leveraged cryptocurrency derivatives alleging the same basic
22   claims against Defendants related to the operation of the BitMEX trading platform. Just as this
23   Court previously dismissed the BMA complaint, and two state-court judges dismissed or sustained
24   demurrers in nearly identical actions alleging that Defendants fraudulently induced others to use
25   BitMEX, this Court should dismiss Plaintiff’s complaint here.
26          A.      This Court Already Rejected in BMA the Same Core Allegations Plaintiff
                    Makes Here.
27

28          In May 2020, Plaintiff’s counsel filed a complaint asserting RICO and Commodity
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 1   Exchange Act (CEA) claims on behalf of Puerto-Rico based BMA and later, on behalf of several
 2   other individual plaintiffs from Russia, relating to the operation of the cryptocurrency derivatives
 3   trading platform, BitMEX. After Plaintiff’s counsel sought to add new plaintiffs (from Russia or
 4   Romania) through new lawsuits and made amendments designed to moot Defendants’ filed
 5   motions to dismiss, this Court consolidated the lawsuits and ordered an additional round of
 6   briefing. In March 2021, this Court dismissed the plaintiffs’ consolidated complaint—which
 7   alleged price manipulation on the platform in violation of federal and state law—as deficient in
 8   multiple respects, including the plaintiffs’ failure to “sufficiently plead the elements of each claim
 9   and their standing to bring them.” BMA Dkt. 143 at 2.
10          In June 2021, Plaintiff’s counsel amended the complaint again. BMA Dkt. 153. Whereas
11   the prior versions of the complaint alleged market manipulation (which this Court had thoroughly
12   rejected), the further amended complaint retained those allegations but pivoted to two new
13   primary theories of fraudulent inducement based on the BitMEX Terms of Service—namely, that
14   Defendants (1) misrepresented the service terms by operating an “insider trading desk” that
15   supposedly had “God Access” to all customer information on the platform and, using this
16   information, allegedly manipulated the market and engineered server freezes and lockouts to
17   liquidate the plaintiffs’ positions; and (2) misrepresented liquidity on the BitMEX platform. Id.
18   ¶¶ 499-501, 525-28. Those alleged misrepresentations, the plaintiffs alleged, fraudulently
19   induced them into making deposits and trades on BitMEX, which led to various losses (including
20   “loss of use,” trading commission, and trading loss damages). Id. ¶ 512-14.
21          In September 2021, this Court rejected the plaintiffs’ new fraudulent inducement theories
22   and dismissed the action with prejudice. See BMA Dkt. 186 (“BMA Order”). The plaintiffs had
23   failed to remedy the defects that had plagued the earlier market manipulation claims and to plead
24   standing to bring those claims. Id. at 7-18. And thus, as the Court held, the fraudulent
25   inducement theories, based in part on the market manipulation claims, fared no better. The Court
26   observed that, instead of supporting their prior “information and belief” allegations of market
27   manipulation, the plaintiffs had merely deleted that phrase without providing a factual basis for
28   their new claim to personal knowledge of Defendants’ supposed misconduct. Id. at 8-9.
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 1           Indeed, the Court found that the plaintiffs had simply copied nearly verbatim from a
 2   federal court complaint drafted by other lawyers in Messieh v. HDR Global Trading Ltd., No.
 3   1:20-cv-3232 (S.D.N.Y.). See BMA Order 8. The Court also rejected, as conclusory, the claim
 4   that Defendants had conspired with a purported market manipulator (“Ben Aabtc”) to cause losses
 5   to the plaintiffs. Id. at 10. According to the Court, “[w]ithout specific facts showing that the
 6   Terms of Service were false—that defendants’ insider trading desk was in fact engaging in
 7   manipulative conduct—plaintiffs’ fraudulent inducement theory fails.” Id. at 12.
 8           The Court further rejected the claim that defendants misrepresented the liquidity of the
 9   platform. The plaintiffs’ assertions about liquidity, the Court ruled, were “not sufficient to state a
10   claim,” which hanged on “one vague allegation” comparing the “bid-ask spread” on another
11   platform that failed to “explain why that show[ed] falsity.” Id. at 14. Based on these and other
12   flaws, and in light of the plaintiffs’ failure (despite many opportunities to amend) to remedy those
13   flaws, the Court dismissed the BMA case with prejudice.
14           B.      Plaintiff’s Counsel Files This Case.
15           About a year after filing the BMA suit, Plaintiff’s counsel filed a complaint on behalf of
16   Anatoly Sorokin, another citizen and resident of Russia. See Compl., Dkt. 1 ¶ 32. Sorokin was
17   the sixth plaintiff enlisted by Plaintiff’s counsel to file suit in federal court alleging nearly
18   identical claims against Defendants. As this Court recognized, “[t]he complaint in Sorokin is
19   substantially similar to the” second amended complaint in BMA, see BMA Order 3. As a result,
20   the Court related the two matters. See Dkt. 18.
21           Plaintiff subsequently amended his complaint—twice. Plaintiff first amended his
22   complaint in response to the dismissal order issued by this Court in BMA, resequencing his causes
23   of action to prioritize fraudulent inducement claims under state law. See Dkt. 22. Plaintiff then
24   amended his complaint again, making substantive revisions to his First Amended Complaint
25   (FAC) as discussed in Defendants’ Administrative Motion requesting the filing of Plaintiff’s
26   Second Amended Complaint (SAC) to correct material misstatements in the FAC. See Dkt. 28.
27   (Plaintiff petitioned to vacate the granting of the motion, but the Ninth Circuit summarily denied
28   the writ petition, see Dkt. 31.) Among the substantive changes from the FAC, the SAC alleged
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 1   that (1) Plaintiff did not just trade Bitcoin perpetual contracts but also traded Ethereum perpetual
 2   contracts, (2) Plaintiff’s positions were long and not short, and (3) the positions were “liquidated
 3   or otherwise closed,” not just “liquidated” as the FAC had asserted. See Dkt. 23 at 3 (emphasis
 4   added).
 5             Despite these amendments, the core allegations in the SAC have remained the same.
 6   Plaintiff’s SAC alleges the same fraudulent inducement theories alleged in BMA, although the
 7   theories are now based more expressly on representations concerning the Terms of Service. This
 8   change in focus is not surprising. Because this Court had already twice rejected the market
 9   manipulation claims alleged in BMA (claims that did not expressly rely on the Terms of Service),
10   Plaintiff has pivoted to emphasize fraudulent inducement theories based on the Terms of Service.
11   Moreover, because the Court had so thoroughly rejected the market manipulation claims as well
12   as the related “insider trading desk” claims in BMA, the SAC now alleges, as its primary theory,
13   that Defendants misrepresented the platform’s liquidity.
14             C.      Plaintiff Has Filed Numerous State Court Cases Alleging Nearly Identical
                       Claims.
15

16             In addition to filing multiple actions in this Court, Plaintiff’s counsel has filed six suits in
17   state court. As this Court is aware, around the same time Plaintiff’s counsel filed suit in BMA in
18   May 2020, he filed suit in Kanyshev v. HDR Global Trading Ltd., No. CGC-20-584483 (S.F.
19   Super. Ct.) (“Kanyshev”), in the San Francisco Superior Court, alleging materially identical
20   theories of wrongdoing against a subset of Defendants here. Judge Massullo sustained the
21   Kanyshev defendants’ demurrer, and after the plaintiffs (one of whom now purports to reside in
22   California) amended their complaint to allege fraudulent inducement theories (just like in BMA),
23   the judge sustained the defendants’ demurrer again (while allowing for limited discovery relating
24   to the court’s granting leave to amend under state-law pleading standards).
25             Plaintiff’s counsel has now filed a fourth amended complaint in Kanyshev, which adds
26   nothing of substance. In fact, that complaint adds only a handful of allegations based on the
27   discovery permitted in that case for the express purpose of providing the plaintiffs an opportunity
28   to test their market manipulation theory. And those allegations are general conclusions about
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 1   HDR holding “short” positions on BitMEX, which the plaintiffs contend caused their losses
 2   without explaining why or how, and without specifically alleging any trading by Defendants on
 3   other platforms. See Kanyshev, Fourth Am. Compl. ¶ 172.h (Nov. 22, 2021). In short, the newest
 4   theory alleged in Kanyshev contradicts the theory of cross-market manipulation asserted by
 5   Plaintiff’s counsel throughout all these cases against Defendants.
 6          Three other cases filed by Plaintiff’s counsel on behalf of European plaintiffs in state
 7   court have been dismissed on grounds of forum non conveniens in favor of England, which
 8   provides the governing law for, and is designated as a forum for dispute resolution in, the
 9   BitMEX Terms of Service. See Hardy v. HDR Global Trading Ltd., Case No. CGC-20-588283
10   (S.F. Super. Ct. June 28, 2021); Wilson-Chalkley v. HDR Global Trading Ltd., Case No. CGC-
11   20-588042 (S.F. Super. Ct. June 28, 2021); Zdilar v. HDR Global Trading Ltd., Case No. CGC-
12   21-590192 (S.F. Super. Ct. Nov. 11, 2021). And finally, two similar cases were recently filed in
13   state court by the same counsel, with responsive pleadings due later this month. See Lyashenko v.
14   HDR Global Trading Ltd., Case No. CGC-21-595865 (S.F. Super. Ct.); Khmel v. HDR Global
15   Trading Ltd., Case No. CGC-21-596114 (S.F. Super. Ct.).
16   IV.    ARGUMENT
17          In BMA, this Court dismissed claims nearly identical to those asserted by Plaintiff
18   Sorokin. The Court should do the same here, whether by enforcing the English choice-of-law
19   clause in the Terms of Service that Plaintiff relies on in his complaint or by applying the state and
20   federal law that Plaintiff seeks to exploit by filing suit thousands of miles away from the locus of
21   the alleged injury he claims to have sustained by trading cryptocurrency derivatives from Russia.
22          A.        The Choice of Law Provision Requires Dismissal of Plaintiff’s Claims.
23          Under the Terms of Service agreed to by Plaintiff, English law applies to Plaintiff’s
24   lawsuit, precluding his claims. Plaintiff accepted the BitMEX Terms of Service when registering
25   for and using a BitMEX trading account. SAC ¶ 136 & Ex. 17. All of Plaintiff’s claims arise out
26   of his use of that trading account and relate to the Terms of Service: several expressly rely on the
27   Terms, see, e.g., SAC ¶¶ 137-38, 187-88, 286, 291, 298, 303, 316; others challenge the provision
28   of services under the Terms, see, e.g., SAC ¶¶ 228, 326, 339, 348, 373, 381, 395, 405, 410, 416,
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 1   426; and still others allege reliance on statements on the BitMEX website, see, e.g., SAC ¶¶ 114,
 2   285, 300, 311, 368, contrary to Plaintiff’s representation and warranty under the Terms that
 3   “general information” on the website “should not be relied upon without further enquiry,” SAC
 4   Ex. 17 § 6.1(d). These claims must all be resolved under English law, pursuant to the choice-of-
 5   law provision in the Terms of Service. 1 See Hatfield v. Halifax PLC, 564 F.3d 1177, 1182-83
 6   (9th Cir. 2009) (noting that a choice-of-law clause “provid[ing] that the agreement ‘shall be
 7   governed by and construed under English law,’ could not be clearer” and applying English law to
 8   contract claims as well as related fraud and tort claims); Nedlloyd Lines B.V. v. Superior Ct., 3
 9   Cal. 4th 459, 470 (1992) (“[A] valid choice-of-law clause, which provides that a specified body
10   of law ‘governs’ the ‘agreement’ between the parties, encompasses all causes of action arising
11   from or related to that agreement, regardless of how they are characterized . . . .”). Therefore,
12   Plaintiff cannot seek relief under the California and federal laws asserted in the SAC.
13          Where, as here, “a federal question action . . . involves supplemental jurisdiction over
14   state law claims, [courts] apply the choice of law rules of the forum state—here, California.”
15   Paulsen v. CNF Inc., 559 F.3d 1061, 1080 (9th Cir. 2009); see also SAC ¶¶ 43-44 (citing 28
16   U.S.C. §§ 1331, 1332(a), 1367(a)); Mazza v. Am. Honda Motor Co., 666 F.3d 581, 589 (9th Cir.
17   2012) (“A federal court sitting in diversity must look to the forum state’s choice of law rules to
18   determine the controlling substantive law.”) (internal quotation marks and citation omitted).
19   California’s choice-of-law rules require the application of English law. California has a “strong
20   policy” of favoring the enforcement of choice-of-law clauses. Wash. Mut. Bank, FA v. Superior
21   Ct., 24 Cal. 4th 906, 916-17 (2001) (citing Restatement (Second) of Conflicts of Laws Section
22   187(2)). This strong policy is bolstered here by the reasonableness of designating a single
23   jurisdiction’s law to apply to agreements entered with many individuals in various jurisdictions.
24

25          1
              The choice-of-law clause in the version of the Terms of Service attached by Plaintiff to
     the SAC provides that “[t]he Terms are governed by and construed in accordance with English
26   common law” (SAC Ex. 17 § 15), while the choice-of-law clause in effect during the “Relevant
     Period” alleged in the complaint (SAC ¶ 7) reinforced that “[t]he Terms and any non-contractual
27   obligations arising out of or in connection with them are governed by and construed in
     accordance with English common law” (Hibbard Decl. Ex. A § 16). Both versions cover all of
28   the claims alleged in the SAC.
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 1   See 1-800-Got Junk? LLC v. Superior Ct., 189 Cal. App. 4th 500, 514-15 (2010) (agreeing that
 2   “the desire for a uniform facilitation of the conduct of trade was valid reason for use of form
 3   contract”) (internal quotation marks and citation omitted). 2 Moreover, the reasonableness of the
 4   Terms’ selection of English common law as the governing law for disputes with users across the
 5   globe is reinforced by the fact that England has a “great deal of expertise in commercial
 6   litigation,” Cal-State Business Products & Services, Inc. v. Ricoh, 12 Cal. App. 4th 1666, 1682
 7   (1993) (enforcing New York choice-of-forum clause for the same reason), and HDR’s home
 8   forum of Seychelles applies English common law, see Daniel M. Klerman, et al., Legal Origin or
 9   Colonial History?, 3 J. Legal Analysis 379, 383 n.4 (2011) (recognizing Seychelles as “mixed
10   legal system,” applying English common law, “especially in commercial matters,” to overlay its
11   French civil law antecedents). 3
12           No exception to the application of English law exists here. If a “reasonable basis . . .
13   exists for the choice of law, the parties’ choice generally will be enforced unless . . . both . . . the
14   chosen law is contrary to a fundamental policy of California and . . . California has a materially
15   greater interest in the determination of the particular issue.” Wash. Mut. Bank, 24 Cal. 4th at 917
16   (emphasis added). The enforcement of English law is not contrary to any fundamental policy of
17   California. California “has no public policy against the enforcement of choice-of-law provisions
18   contained in contracts of adhesion where they are otherwise appropriate.” Id. And Plaintiff’s
19   inability to benefit from California laws if the choice-of-law clause is enforced does not
20   contravene California public policy. Medimatch, Inc. v. Lucent Tech. Inc., 120 F. Supp. 2d 842,
21   862 (N.D. Cal. 2000) (“The mere fact that the chosen law provides greater or lesser protection
22   than California law, or that in a particular application the chosen law would not provide
23           2
               See also Ehrlich v. Hartford Life & Accident Ins. Co., 2021 WL 4472845, at *8 (N.D.
24   Cal. May 7, 2021) (holding reasonable choice of Florida law governing employee benefits plan
     where plan sponsor had hundreds of thousands of employees in all 50 states); Walker Earle v.
25   UNUM Life Ins. Co. of Am., 2020 WL 4434951, at *11 (C.D. Cal. July 23, 2020) (determining
     application of Maine law to benefits plan was reasonable in part because defendant, “by applying
26   the laws of one governing jurisdiction, . . . [ensured the terms were] uniformly administered”).
             3
               Moreover, Hong Kong, where the bulk of HDR’s relevant operations are located, is a
27   former British colony and has a legal system derived from English law. Merton Co. v. PepsiCo
     Inc., 874 F. Supp. 634, 638 (S.D.N.Y. 1995) (“British law, both common and statutory, is the law
28   of Hong Kong.”).
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 1   protection while California law would, are not reasons for applying California law.”).
 2          Nor does California—a jurisdiction in which use of the platform is prohibited—have a
 3   materially greater interest than England in the determination of this action. Plaintiff is a resident
 4   of Russia (SAC ¶ 6), and “California’s interest in applying its law to residents of foreign states is
 5   attenuated.” Mazza, 666 F.3d at 594. Meanwhile, England has a significant interest in the correct
 6   application of its law to international commercial disputes. See, e.g., Roby v. Corp. of Lloyd’s,
 7   996 F.2d 1353, 1363 (2d Cir. 1993) (affirming enforcement of English choice-of-law and forum-
 8   selection clauses “where the underlying transaction is fundamentally international in character”
 9   because such clauses “eliminate uncertainty in international commerce and insure that the parties
10   are not unexpectedly subjected to hostile forums and laws”). 4
11          Applying these principles, the choice-of-law clause bars Plaintiff’s state-law claims, all of
12   which are pleaded by reference to California statutes or decisional law. See, e.g., Century 21 Real
13   Estate LLC v. All Pro. Realty, Inc., 600 F. App’x 502, 504, 506 (9th Cir. 2015) (dismissing
14   California UCL claim because “New Jersey law applies to this action, thus a California claim is
15   unavailable”). 5 Moreover, Plaintiff may not bring a federal CEA claim where the applicable law
16   is that of a foreign country. See P.T. Adimitra Rayapratama v. Bankers Trust Co., 1995 WL
17          4
                No more availing are Plaintiff’s allegations of fraudulent inducement, as Plaintiff does
18   not—and cannot—allege that the choice-of-law clause itself was obtained by fraud. Ricoh, 12
     Cal. App. 4th at 1676-77; Seidman & Seidman v. Wolfson, 50 Cal. App. 3d 826, 831 (1975)
19   (affirming validity of choice-of-law provision where plaintiff brought suit based on alleged
     misrepresentation but “there [was] no contention that inclusion of the choice of law clause itself
20   was obtained by misrepresentation or mistake”); see also Roby, 996 F.2d at 1363 (rejecting
     exception to enforceability of choice-of-law and forum-selection clauses on ground that “their
21   incorporation into the agreement was the result of fraud” because plaintiffs “do not contend that
     they were fraudulently induced into agreeing to” those particular clauses).
22            5
                See also Potter v. Chevron Prods. Co., 2018 WL 4053448, at *12 (N.D. Cal. Aug. 24,
     2018) (dismissing CLRA, FAL, and UCL claims because plaintiffs’ claims were governed by
23   Illinois rather than California law); Bias v. Wells Fargo & Co., 312 F.R.D. 528, 533 (N.D. Cal.
     2015) (holding enforceable Louisiana choice-of-law clause, which “barr[ed plaintiffs] from
24   bringing claims under California law,” including both UCL and fraud claims); Abat v. Chase
     Bank USA, N.A., 738 F. Supp. 2d 1093, 1096 (C.D. Cal. 2010) (“The choice of law provision
25   should be enforced, and its selection of Delaware law bars Plaintiff’s California [UCL and
     CLRA] statutory claims as a matter of law.”); Cont’l Airlines, Inc. v. Mundo Travel Corp., 412 F.
26   Supp. 2d 1059, 1070 (E.D. Cal. 2006) (dismissing UCL claim where Virginia choice of law
     provision applied because “[a] valid choice-of-law provision selecting another state’s law is
27   grounds to dismiss a claim under California’s UCL”) (citation omitted); Servpro Inds., Inc. v.
     Woloski, 2019 WL 3552516, at *4 (M.D. Tenn. Aug. 5, 2019) (dismissing California Penal Code
28   Section 496 claim as not cognizable due to an enforceable Tennessee choice-of-law clause).
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 1   495634, at *4-6 (S.D.N.Y. Aug. 21, 1995) (granting defendants’ motion to dismiss CEA claim
 2   and other federal statutory claims after determining that parties’ contractual choice-of-law clause
 3   in favor of English law was enforceable); see also MBC Fin. Servs. Ltd. v. Bos. Merch. Fin., Ltd.,
 4   2016 WL 5946709, at *7 (S.D.N.Y. Oct. 4, 2016) (“The Court is unconvinced that Plaintiff can
 5   plead a CEA violation and expect a United States Court to rule on such a violation, thereby
 6   completely disregarding an agreed-upon choice-of-law clause.”). All of Plaintiff’s claims should
 7   therefore be dismissed on this basis alone.
 8          B.      Plaintiff’s Allegations Fail to State a Claim on Their Own Terms.
 9          Regardless of the choice-of-law provision, Plaintiff fails to allege facts to support that
10   Defendants engaged in fraudulent conduct causing Plaintiff’s alleged losses. For Plaintiff to
11   survive a motion to dismiss, he must allege “enough facts to state a claim to relief that is plausible
12   on its face.” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007). That baseline standard
13   demands “more than a sheer possibility that a defendant has acted unlawfully.” Ashcroft v. Iqbal,
14   556 U.S. 662, 678 (2009). To satisfy Rule 8, the plaintiff must plead facts that “allow[] the court
15   to draw the reasonable inference that the defendant is liable for the misconduct alleged.” Id.
16          More is required where, as here, a plaintiff brings claims sounding in fraud. Under Rule
17   9(b), a party must “state with particularity the circumstances constituting fraud or mistake,”
18   including “‘the who, what, when, where, and how’ of the misconduct charged.” Vess v. Ciba-
19   Geigy Corp. USA, 317 F.3d 1097, 1106 (9th Cir. 2003) (citation omitted); see also Cansino v.
20   Bank of Am., 224 Cal. App. 4th 1462, 1472 (2014) (“[T]he requirement that ‘[f]raud must be
21   pleaded with specificity’ applies equally to a cause of action for fraud and deceit based on
22   concealment.”) (citation omitted). Plaintiff must make these allegations as to each defendant:
23   “Rule 9(b) does not allow a complaint to merely lump multiple defendants together but
24   ‘require[s] plaintiffs to differentiate their allegations when suing more than one defendant … and
25   inform each defendant separately of the allegations surrounding his alleged participation in the
26   fraud.’” Swartz v. KPMG LLP, 476 F.3d 756, 764–65 (9th Cir. 2007) (citation omitted).
27   “[G]eneral allegations that the ‘defendants’ engaged in fraudulent conduct’ with only specific
28   allegations as to some, ‘patently fail[s] to comply with Rule 9(b).’” Calderon v. Total Wealth
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 1   Mgmt., Inc., 2018 WL 1621397, at *2 (S.D. Cal. Apr. 4, 2018) (quoting Swartz, 476 F.3d at 765).
 2          When determining whether a complaint satisfies those standards, a court is not required to
 3   accept as true “allegations that are merely conclusory, unwarranted deductions of fact, or
 4   unreasonable inferences.” In re Gilead Scis. Sec. Litig., 536 F.3d 1049, 1055 (9th Cir. 2008)
 5   (quotation marks and citation omitted). Nor is a court “‘required to accept as true conclusory
 6   allegations which are contradicted by documents referred to in the complaint’ or documents that
 7   are proper subjects of judicial notice.” Laws. Funding Grp., LLC v. Dale Alan Harris, Esq., 2015
 8   WL 13298145, at *5 (C.D. Cal. Sept. 18, 2015) (quoting Steckman v. Hart Brewing Inc., 143 F.3d
 9   1293, 1295–96 (9th Cir. 1998)). 6 Plaintiff must base his allegations either on his personal
10   knowledge or on “information and belief.” In re Silicon Graphics, Inc. Sec. Litig., 970 F. Supp.
11   746, 763 (N.D. Cal. 1997). “For allegations made on information and belief, [plaintiff] must
12   allege with particularity all facts upon which [his] belief is based.” BMA Order 9.
13          Plaintiff’s entire case is premised on the sensational and unsupported belief that
14   Defendants designed BitMEX “to fraudulently induce unsuspecting victims to deposit their
15   bitcoins with Defendants and then rob them blind of all their property.” SAC ¶ 2. Plaintiff
16   asserts that Defendants fraudulently induced him in two ways to use the BitMEX platform:
17   (1) Defendants purportedly misstated in the BitMEX Terms of Service that HDR’s trading arm
18   does not have trading privileges or access to any customer information on the platform on terms
19   that are not otherwise available to any other platform user, and concealed market manipulation by
20   the trading arm and/or third parties; and (2) Defendants purportedly misstated on the BitMEX
21   website that the platform had “1500% more Bitcoin/USD Liquidity than any other platform.”
22   SAC ¶¶ 84-87. These fraudulent inducement theories form the basis of all of Plaintiff’s claims.
23          These theories fail. Plaintiff fails to offer any facts—let alone facts with the requisite
24   particularity under Rule 9(b)—supporting his claims that he was induced to trade on BitMEX by
25   the alleged statements on the BitMEX website or in the BitMEX Terms of Service. To plead
26
            6
               Even “if a document is not attached to a complaint,” if a “plaintiff refers extensively to
27   the document or the document forms the basis of the plaintiff’s claim,” the “defendant may offer
     such a document” and the district court may consider it on a motion to dismiss. United States v.
28   Ritchie, 342 F.3d 903, 908 (9th Cir. 2003).
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 1   these fraud claims, at a minimum, Plaintiff must allege with particularity: (1) a misrepresentation
 2   of fact (a false statement, concealment, or nondisclosure); (2) that the fact misstated or concealed
 3   was “important” or “material”; (3) that Plaintiff “reasonably relied” on the misrepresentation; and
 4   (4) the “causal connection” between the alleged damages and Plaintiff’s “reliance” on the
 5   misrepresentation. Graham v. Bank of Am., N.A., 226 Cal. App. 4th 594, 605-06, 609 (2014);
 6   Collins v. eMachines, Inc., 202 Cal. App. 4th 249, 256 (2011). Plaintiff fails to allege particular
 7   facts to satisfy all these elements with respect to each of his theories of fraudulent inducement.
 8   The SAC should therefore be dismissed.
 9                  1.      Plaintiff Fails to Plead Fraudulent Inducement Related to Purported
                            Market Manipulation by the HDR Trading Arm or Third Parties.
10
                            (a)     Plaintiff has not pled facts to show a misrepresentation about
11                                  trading on BitMEX.
12          Plaintiff claims that Defendants falsely represented in the BitMEX Terms of Service that
13   HDR’s “trading arm does not have access to any order flow, execution, customer or other
14   information of the Trading Platform on terms that are not otherwise available to any other
15   platform user.” SAC ¶¶ 137-38. Plaintiff alleges that, instead of lacking access, the trading arm
16   possessed “God Access” to “all customer, order flow, execution and open position (contract)
17   information” on the platform, including “all order sizes, leverage amounts and liquidation prices,
18   all parameters of hidden orders,” id. ¶ 138, and purportedly used that access to manipulate the
19   market to Plaintiff’s detriment, id. ¶ 142. Plaintiff further alleges that the trading arm engineered
20   “server freezes” and “lockouts” “offensively to liquidate regular traders including Plaintiff, while
21   itself not being subject to such freezes or lockouts.” Id. ¶ 146. Defendants’ service terms,
22   according to Plaintiff, were rendered false by such conduct and wrongly induced him to use
23   BitMEX, resulting in losses to him. Id. ¶¶ 138, 146, 154.
24          Plaintiff’s conclusory claims cannot survive dismissal. In BMA, this Court already
25   dismissed with prejudice nearly identical claims of market manipulation and fraudulent
26   inducement as lacking particularity and plausibility. Plaintiff’s pleading suffers from the same
27   fatal defects, having alleged no particular facts to suggest market manipulation activity that would
28   have rendered the Terms of Service false, let alone false at the time Plaintiff opened his account
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 1   on BitMEX, made deposits, or traded on the platform. Simply put: Plaintiff alleges no facts that
 2   would permit an inference connecting his purported losses to any alleged market manipulation
 3   supposedly carried out by Defendants. Nor does Plaintiff provide any facts to support the claim
 4   that any purported server freezes or lockouts occurred at times that affected his ability to close or
 5   hedge positions, let alone any facts demonstrating that any such alleged freeze or lockout was
 6   deliberately engineered by Defendants, or any one of them, as part of a market manipulation
 7   scheme.
 8          Plaintiff’s attempt to masquerade his assertions as “fact” only further highlights the lack
 9   of specifics. See SAC ¶ 172. Plaintiff vaguely asserts that the “insider trading desk” used
10   “automated software systems” to “liquidate traders” during “specific Manipulation Times” (id.
11   ¶ 172.a), but nowhere does he actually define what those “Manipulation Times” were. Nor does
12   Plaintiff describe those “automated” systems, supposedly “operat[ing] on a 24 hours a day, 7 days
13   a week basis,” with any clarity, or how they worked. Id. ¶ 172.b. Plaintiff next asserts, with no
14   factual support, that “only Defendants” could open trading positions “sufficiently large” to
15   manipulate markets, but he fails to support that bare conclusion with any details, and the only
16   example he provides of a “large” market move is from two months prior to his opening an
17   account on BitMEX. Id. ¶ 172.e. Plaintiff points in conclusory fashion to “highly suspicious”
18   bitcoin transfers that again he says, with no factual support, could only have been made by the
19   “insider trading desk.” Id. ¶ 172.h. But Plaintiff again fails to connect such purported transfers to
20   any market manipulation. Throughout the complaint, what Plaintiff lacks in factual substance he
21   tries to cover up with conclusory and inflammatory labels. But lobbing accusations is no
22   substitute for pleading particular facts. Rule 9(b) demands more.
23          More defects plague the pleadings. Plaintiff’s pleadings are marked by contradictions that
24   refute his ability to properly state a claim. See Anderson v. Virga, 2017 WL 1179142, at *3 (E.D.
25   Cal. Mar. 29, 2017) (“[W]here the allegations contradict each other, very little can be inferred
26   factually to supply the essential elements of his claim.”). In several places, the SAC alleges that
27   “it was Defendants” who engaged in market manipulation causing Plaintiff’s losses. Id. ¶¶ 170,
28   172, 172.e, 173. But then in other places, the SAC points to other, third-party purported market
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 1   manipulators, in particular “Ben Aabtc.” Id. ¶ 228. Trying to square this, Plaintiff alleges that
 2   Defendants aided Ben Aabtc’s market manipulation. Id. ¶ 234. But as this Court held in BMA,
 3   the materially identical allegations (which rely primarily on Twitter screenshots) are
 4   “speculative,” BMA Order 10, and they remain so here. Moreover, according to Plaintiff’s own
 5   pleading, the alleged “pump” engineered by Ben Aabtc occurred around April 2018 (see SAC
 6   ¶¶ 232, 248), more than a year before Plaintiff even opened a BitMEX account, and so could not
 7   have resulted in losses to Plaintiff. See also BMA Order 10. Tying itself in knots, Plaintiff’s
 8   pleading fails to state a claim.
 9           Plaintiff’s misrepresentation claims also fail because they lack any alleged factual basis.
10   Plaintiff does not allege that his claims about the so-called “insider trading desk” and its
11   purported inner-workings are based on personal knowledge. But neither does Plaintiff base his
12   allegations on “information and belief”—the “only [other] alternative.” In re Silicon Graphics,
13   Inc. Sec. Litig., 970 F. Supp. at 763. Plaintiff’s failure to do even that warrants the complaint’s
14   dismissal. And even if Plaintiff’s claims had been alleged on information and belief, those claims
15   would still fail, as Plaintiff never states a plausible “factual basis for [any] belief.” See Hilario v.
16   Allstate Ins. Co., 2020 WL 7643233, at *8 (N.D. Cal. Dec. 23, 2020) (dismissing “allegations”
17   that were “not supported by any clear factual basis”) (quotation marks and citation omitted).
18   Notably, the near-identical allegations in BMA brought by Plaintiff’s counsel here had previously
19   been made on “information and belief”; it was only after this Court dismissed those allegations,
20   as lacking any particular factual basis for that belief (among other reasons), that Plaintiff’s
21   counsel struck from the complaint references to “information and belief” in an attempt to amend
22   the pleadings, arguing instead that the allegations were made “directly and positively.” BMA
23   Order 8-9. This Court rejected that maneuver too as implausible. 7 Id. Plaintiff’s current
24
             7
               The Court also recognized that Plaintiff’s counsel had copied dozens of paragraphs
25   “almost verbatim” from another action, Messieh, filed by different counsel in the Southern
     District of New York, paragraphs which were “based on expert analysis and/or reports that
26   [plaintiffs did] not produce.” BMA Order at 8. Plaintiff’s counsel continues to repeat the
     substance of many of the allegations from Messieh in the SAC, but has been careful this time not
27   to copy the allegations verbatim. Yet the SAC still fails to produce any of the expert analysis,
     graphs, or reports underpinning the allegations in Messieh, leaving the borrowed parallel
28   allegations in this case wholly unsupported.
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 1   approach—basing his allegations on neither personal knowledge nor information and belief—
 2   fares no better.
 3                          (b)     Plaintiff has not pled facts showing that a representation about
                                    trading on BitMEX caused his purported losses.
 4

 5           As this Court made clear in BMA, “[w]ithout factual allegations that [Plaintiff’s] claimed
 6   losses are ‘fairly traceable’ to defendants’ alleged conduct, as opposed to acts by third parties or
 7   inherent market forces, Article III standing is insufficiently pleaded.” BMA Order 16. Plaintiff
 8   must plead “a causal connection between the injury and the conduct complained of,” Bennett v.
 9   Spear, 520 U.S. 154, 167 (1997), “explain[ing] why [he] think[s] that defendants were the
10   perpetrators,” BMA Order 16 (emphasis in original).
11           Plaintiff fails to make this showing. Nothing in the complaint permits the inference that
12   Plaintiff’s purported losses can be fairly traced to Defendants’ alleged conduct rather than market
13   forces or independent third party activity. Plaintiff himself alleges the presence of external
14   “market manipulators” who are not Defendants (SAC ¶ 228), and also acknowledges the “high
15   volatility” of cryptocurrency markets (id. ¶ 193.g). But Plaintiff fails to offer any facts to
16   distinguish Defendants’ alleged actions from the purported conduct of those independent third
17   parties or market forces as the cause of his losses. Just as the BMA plaintiffs could not survive a
18   motion to dismiss due to this pleading failure (see BMA Order 17-18), Plaintiff cannot do so here.
19   Indeed, Plaintiff does not even clearly allege trading losses from any purported liquidation as
20   opposed to his own voluntary closure of trading positions. See SAC ¶ 89 (“[B]oth contracts were
21   liquidated or otherwise closed”); see also id. ¶ 119. Seeking to mask these defects, Plaintiff
22   asserts several categories of losses in addition to purported “trading losses”—such as “loss of
23   use,” trading commissions, and purchase “costs”—supposedly resulting from Defendants’
24   representations about the trading arm. See SAC ¶ 181. But those assertions fail because Plaintiff
25   does not properly plead facts, in the first place, to support a misrepresentation.
26           In any event, those claims to losses fail for other reasons too. Plaintiff fails to allege
27   particular facts to support any damages due to loss of use, trading commissions, and purchase
28   costs arising from any purported misrepresentation about the trading arm, let alone particular
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 1   trades executed by the trading arm or anyone else purportedly acting in concert with Defendants.
 2   See infra at § IV.B.2.d. And as the reasoning in BMA makes clear, Plaintiff has “not adequately
 3   connected the misrepresentations to [his] alleged damages because [his] damages only occurred
 4   once [his] positions were [allegedly] liquidated, which as discussed above, could have been due
 5   to the acts by third parties or inherent market forces.” BMA Order 17. Indeed, Plaintiff has an
 6   even more frivolous claim to damages than the BMA plaintiffs, since Plaintiff does not
 7   specifically allege that he actually suffered any liquidation for which he is claiming losses.
 8                  2.      Plaintiff Fails to Plead Fraudulent Inducement from the BitMEX
                            Website’s Liquidity Statement.
 9
                            (a)     Plaintiff has not pled facts to show that a representation about
10                                  liquidity was false.
11          Plaintiff’s claim that the BitMEX website’s “1500% More Bitcoin/USD liquidity than any
12   other platform” statement was false is based solely on an illogical and inadequate comparison
13   between (1) purported liquidity numbers for a product he bought, and (2) purported liquidity
14   numbers for different products offered on other platforms.
15          Such a comparison does not suffice to support a claim that Defendants’ liquidity statement
16   was false. Plaintiff cites purported liquidity numbers (in the form of bid-ask spread and trading
17   volume numbers) for a specific product he purchased on BitMEX (XBTUSD perpetual contracts).
18   Plaintiff then tries to compare those numbers with purported liquidity numbers for products on
19   other trading platforms that he acknowledges are different (spot contracts on Binance and
20   unspecified futures contracts on OKEx). See SAC ¶¶ 98 & n.7, 100, 365 n.28. But Plaintiff
21   alleges no facts to show that those other products he selects, or their bid-ask spread or trading
22   volume numbers, are suitable points of comparison to argue, much less show with particularity,
23   that the statement on the BitMEX website was false. See Great Pac. Sec. v. Barclays PLC, 2016
24   WL 11502178, at *7 (C.D. Cal. Oct. 19, 2016) (“Based on Plaintiff’s own allegations, it is
25   unclear what these different figures represent, and therefore, if they can be compared.”).
26          The perpetual contracts Plaintiff purchased (both XBTUSD and ETHUSD) are derivative
27   products; they are not contracts for the purchase or sale of cryptocurrency on a spot trading
28
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 1   market. Nor are perpetual contracts the same as traditional futures contracts. 8 Plaintiff’s attempt
 2   to compare the bid-ask spread and trading volume of these distinct products cannot support a
 3   misrepresentation claim. See Edmundson v. Proctor & Gamble Co., 537 F. App’x 708, 709 (9th
 4   Cir. 2013) (alleged false “claim must be sufficiently specific, either by reference to particular
 5   product characteristics or ‘criteria . . . such that the claim can be tested’”) (citation omitted); see
 6   also Forman v. Meridian Bioscience, Inc., 367 F. Supp. 3d 674, 691 (S.D. Ohio 2019)
 7   (dismissing misrepresentation claim as “mix[ing] up apples and oranges” because alleged false
 8   “statement that Meridian would meet its fiscal . . . expectations is not disproven by a general
 9   allegation [that another] business unit, Magellan, would not meet its quarterly expectations”).
10           Plaintiff’s claim of falsity fails in other ways too. Plaintiff’s allegation assumes, in
11   conclusory fashion and without providing any factual basis, that the website’s liquidity statement
12   was based on bid-ask spread numbers. Plaintiff’s allegation also improperly assumes that
13   Defendants, in prior pleadings, admitted that the liquidity statement was based on trading volume.
14   Nowhere have Defendants made such a statement. 9 Given such unsupported assumptions and
15   unfounded claims of admissions, Plaintiff fails to plead particular facts to make out a claim of
16   falsity. Moreover, Plaintiff’s failure to allege that liquidity can only be measured in either one of
17   the two ways he discusses (an allegation that would be implausible given the many ways in which
18   liquidity can be measured) renders his liquidity claim deficient as well. See Huong Le & Andros
19   Gregoriou, How Do You Capture Liquidity? A Review of the Literature on Low-Frequency Stock
20   Liquidity, Journal of Economic Surveys (2020) Vol. 34, No. 5, at p. 1170, available at
21   https://doi.org/10.1111/joes.12385 (“In spite of abundant theoretical and empirical literature on
22   liquidity and related issues, there is not an appropriate definition of liquidity as well as a
23           8
               For example, traditional futures contracts contain an expiry date resulting in a one-time
24   payout and their pricing may reflect a premium or discount depending on the expiry date, whereas
     perpetual contracts do not expire and have a periodic funding mechanism that mimics interest
25   payments between buyers and sellers of the contract. See Andrey Sergeenkov, What is a
     Perpetual Contract?, CoinDesk (Oct. 5, 2021), available at
26   https://www.coindesk.com/learn/what-is-a-perpetual-swap-contract.
             9
               Defendants’ motion to dismiss papers in BMA explained only that the plaintiffs there had
27   no basis to allege that the liquidity statement reflected bid-ask spread, particularly when the only
     metrics identified on the webpage containing the statement reflected the platform’s trading
28   volume. See BMA Reply Br. 10 n.3 (ECF No. 172).
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 1   consistent liquidity measure for all markets.”).
 2          Plaintiff also provides no “explanation of why or how” the differences in magnitude of the
 3   bid-ask spread or trading volume numbers he purports to calculate show that Defendants’
 4   liquidity statement was false. Arroyo v. Chattem, Inc., 926 F. Supp. 2d 1070, 1077 (N.D. Cal.
 5   2012) (dismissing fraud and concealment claim for failure to plead material falsity). Plaintiff
 6   appears merely to assume that the percentage difference in the bid-ask spread or trading volume
 7   figures he provides automatically yields the same percentage difference in liquidity (e.g., that a
 8   200% bid-ask spread difference necessarily means a 200% difference in liquidity). Not only is
 9   such an assumption of arithmetic equivalence unsupported by any factual allegation, it is
10   implausible, as those figures again relate to different products.
11          Finally, Plaintiff claims that the comparison of liquidity on the website was an
12   “unqualified” statement that an “ordinary consumer” would understand as Plaintiff now purports
13   to have understood it. SAC ¶ 100. But even under the UCL, courts apply an “ordinary consumer
14   acting reasonably under the circumstances” standard, rather than a “least sophisticated
15   consumer” standard. Lavie v. Procter & Gamble Co., 105 Cal. App. 4th 496, 512 (2003)
16   (emphasis added). And there is nothing reasonable about Plaintiff’s purported understanding that
17   BitMEX provided, under any possible metric and at all times, precisely 1500% more liquidity
18   than any other platform offering trading of any USD-denominated bitcoin products, particularly
19   given the “constantly changing” nature of liquidity on cryptocurrency trading platforms. Aug. 27,
20   2021 Kanyshev Order Sustaining Demurrer to Third Amended Complaint (“Kanyshev Order,”
21   Hibbard Decl. Ex. B) 9; see also Becerra v. Dr Pepper/Seven Up, Inc., 945 F.3d 1225, 1230 (9th
22   Cir. 2019) (“Just because some consumers may unreasonably interpret the term differently does
23   not render the use of ‘diet’ in a soda’s brand name false or deceptive.”).
24          In fact, the BitMEX Terms of Service on which Plaintiff bases his fraudulent inducement
25   theory further establish that Plaintiff’s understanding is entirely unreasonable. Specifically, the
26   same section of the Terms that Plaintiff cites in support of his theory (Section 6) provides: “The
27   information provided on the Website is for general information purposes only and is given in
28   good faith. However, the information is selective and BitMEX may not verify all information,
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 1   which may not be complete or accurate for your purposes and should not be relied on without
 2   further enquiry. The information should not be construed as a recommendation to trade or engage
 3   the Service provided by BitMEX in a particular manner.” SAC Ex. 17, TOS § 6.1(d); accord
 4   Hibbard Decl. Ex. A § 6.2(a). The Terms also require users to acknowledge the “risks” involved
 5   in trading, including the “high volatility risk of Bitcoin itself.” SAC Ex. 17, TOS § 1.4(e); accord
 6   Hibbard Decl. Ex. A § 1.3(e), (f). Given that (1) BitMEX users agree in the Terms that they will
 7   not rely on “information provided on the Website . . . without further enquiry” and understand the
 8   “high volatility risk” of trading, (2) the Terms do not promise any particular level of liquidity, and
 9   (3) users had “live trading” data at their fingertips providing data about liquidity when trading on
10   the platform, SAC ¶ 84, no reasonable consumer would be led to believe that BitMEX promised
11   1500% more liquidity for all of its products than any other product on other platforms at any time
12   under any measure. See Bickoff v. Wells Fargo Bank N.A., 2016 WL 3280439, at *15 (S.D. Cal.
13   June 14, 2016), aff’d, 705 F. App’x 616 (9th Cir. 2017) (finding that “public would not be likely
14   to be deceived into thinking permanent financing was guaranteed” because Wells Fargo provided
15   “many statements of limitation and condition” that referenced permanent financing and the
16   absence of permanent financing in the agreement). 10
17                          (b)     Plaintiff has not pled facts to show that a representation about
                                    liquidity was material.
18

19          To plead fraud, a plaintiff must allege a “misrepresentation of a material fact.” Collins,
20   202 Cal. App. 4th at 259 (emphasis added). A fact is “material” if a “‘reasonable consumer’
21   would deem it important in determining how to act in the transaction at issue.” Id. at 256
22   (discussing elements of CLRA claim based on fraudulent omission) (citation and alteration
23   omitted); see also id. at 258 (stating that under UCL’s “fraud” prong, a plaintiff must show “that
24   members of the public are likely to be deceived”) (quotation marks and citation omitted).
25
            10
               See also Block v. eBay, Inc., 747 F.3d 1135, 1140 (9th Cir. 2014) (user agreement for
26   online marketplace provider adequately described Automatic Bidding system such that plaintiff
     could not have relied on alleged misrepresentations); In re Sony Gaming Networks & Customer
27   Data Sec. Breach Litig., 996 F. Supp. 2d 942, 990 (S.D. Cal. 2014) (in suit against online gaming
     system operator for misrepresenting users’ ability to access system, alleged statement was not
28   misleading as a matter of law where User Agreement clearly stated access may be interrupted).
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 1   Plaintiff has not and cannot allege the materiality of the “fact” allegedly misrepresented.
 2          Plaintiff asserts in conclusory fashion that the “amount of liquidity” was “highly
 3   material.” SAC ¶ 96 (emphasis added). But that assertion fails to state a claim. Nowhere does
 4   Plaintiff offer specific facts to support a plausible inference that the particular magnitude of
 5   “Bitcoin/USD” liquidity on BitMEX compared to other platforms (1500%) was important to a
 6   “reasonable consumer[’s]” decision, Collins, 202 Cal. App. 4th at 259 (or as discussed, infra
 7   § IV.B.2.c, that Plaintiff himself actually relied on it). Whether that magnitude was 100%,
 8   1000%, or any other number less than 1500%, Plaintiff does not allege facts to show that the
 9   specific number would have mattered. All Plaintiff says, in general terms, is that “the amount of
10   available liquidity determined the level of financial risk” and “potential profits that [he] could
11   realize.” SAC ¶ 96 But that abstract assertion—devoid of facts suggesting that the specific
12   magnitude of liquidity would have made a difference in the decision-making process—is not
13   enough to overcome dismissal. 11 See, e.g., Rojas-Lozano v. Google, Inc., 159 F. Supp. 3d 1101,
14   1113 (N.D. Cal. 2016) (dismissing complaint for failure to plausibly plead materiality because no
15   facts indicated that “the omitted information would otherwise have been important to Plaintiff’s
16   decision”).
17          Moreover, Plaintiff’s liquidity argument lacks plausibility where he alleges no facts to
18   negate the far more plausible and “obvious” reasons for why a trader might use BitMEX (such as
19   the platform’s leverage options or user interface). Iqbal, 556 U.S. at 682. Plaintiff does not and
20   cannot plead that the general “Bitcoin/USD” liquidity statement on the website alone would cause
21   a reasonable consumer to open a trading account, let alone to deposit bitcoins that could be used
22   to trade a variety of derivative products (including many that were tied to neither the price of
23   bitcoin nor the U.S. dollar) for purposes of trading “Bitcoin/USD” products or to make specific
24   leveraged trades in any of those products after having viewed the “live trading” data available for
25
            11
               Plaintiff’s assertion is all the more implausible considering the small size of the
26   positions that he claims to have opened, which would easily be absorbed by a market that Plaintiff
     alleges had billions of dollars in daily trading volume when he traded. See SAC ¶¶ 118-19
27   (alleging the “purchase” and liquidation or “clos[ure]” of XBTUSD and ETHUSD contracts
     between July 5 and July 11, 2019 at the cost of approximately one bitcoin each), ¶ 100 (alleging
28   daily trading volume of $5,465,341,825 on July 5 and $8,846,927,738 on July 11).
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 1   those products on the user interface. SAC ¶ 84. Absent such allegations, Plaintiff fails to show
 2   that the liquidity statement actually mattered. And commonsense dictates otherwise.
 3                          (c)     Plaintiff has not pled facts to show that he actually or
                                    reasonably relied on a representation about liquidity.
 4

 5          For similar reasons, Plaintiff fails to plead reliance. The “reliance” element for a fraud
 6   claim under California and federal law is not satisfied “[i]f the conduct of the plaintiff in the light
 7   of his own intelligence and information was manifestly unreasonable.” Hoffman v. 162 N. Wolfe
 8   LLC, 228 Cal. App. 4th 1178, 1194 (2014) (quoting Seeger v. Odell, 18 Cal. 2d 409, 415 (1941));
 9   see also Davis v. HSBC Bank Nev., N.A., 691 F.3d 1152, 1164 (9th Cir. 2012) (affirming
10   dismissal where “reliance on the purported misrepresentation was manifestly unreasonable” in
11   light of information provided in terms and conditions); Walrus Master Fund Ltd. v. Citigroup
12   Glob. Mkts., Inc., 2009 WL 928289, at *3 (S.D.N.Y. Mar. 30, 2009) (dismissing CEA claim on
13   pleadings when plaintiff failed to “adequately plead[] justifiable reliance”) (quotation marks and
14   citation omitted). Plaintiff has alleged no facts showing that the representation of a particular
15   level of liquidity induced him to use the platform, make deposits, or engage in trades, let alone
16   that any reliance on such a representation would be reasonable.
17          To begin, no specific facts in the pleadings suggest that Plaintiff himself would have
18   ceased activities on the platform if the liquidity statement had not included the 1500% number
19   (for example, if it said 500% or 100% instead). In Beasley v. Lucky Stores, Inc., this Court
20   dismissed a similar misrepresentation claim due to a failure to plead reliance on an allegedly false
21   number in an advertisement, explaining that the plaintiff did not “draw a connection” between the
22   purported false statement that the product contained “0g Trans Fat” and “his decision to
23   purchase” the product. 400 F. Supp. 3d 942, 960 (N.D. Cal. 2019). According to the Court, the
24   plaintiff’s allegation that he “was seeking a product made with safe and lawful ingredients” did
25   “not suffice to allege he was seeking to purchase a product without any trans fat.” Id. (emphasis
26   added). Similarly here, Plaintiff fails to allege with specific facts any connection between the
27   magnitude of the represented liquidity and his decision to trade on the platform. That failure
28   alone requires dismissal of the misrepresentation claim about liquidity.
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 1          Worse still, the alleged facts affirmatively show a complete lack of reliance. As Plaintiff
 2   himself concedes, he traded Bitcoin perpetual contracts (XBTUSD) at the same time and in the
 3   same manner that he traded Ethereum perpetual contracts (ETHUSD). See SAC ¶ 89. Yet the
 4   liquidity statement pertained only to Bitcoin products. One cannot conclude that Plaintiff’s
 5   decision to open an account on BitMEX and subsequent trading behavior was motivated by the
 6   Bitcoin-specific 1500% liquidity statement—given that he traded non-Bitcoin products on
 7   BitMEX, and his Bitcoin-related trades mirrored those other trades. Stripped of conclusory
 8   statements, Plaintiff’s own factual pleadings demonstrate that he traded regardless of the liquidity
 9   statement.
10          Nor would any claim to reliance be reasonable. The numerical liquidity representation
11   relates to “Bitcoin/USD” only generally. But Plaintiff traded specific “XBTUSD” perpetual
12   contracts, and the only liquidity representation relating to the market for that specific product (as
13   being the “most liquid,” SAC ¶ 95) is not alleged to be false by Plaintiff. Plaintiff cannot claim
14   actual or reasonable reliance on a statement that does not pertain to the specific product that he
15   purchased when there was an accompanying statement that spoke directly to that specific product.
16          Moreover, Plaintiff purports to have personally relied on the Terms of Service, including
17   the warranties and representations. See, e.g., SAC ¶ 137 (quoting Section 6.3 of version of Terms
18   attached as Ex. 17), ¶ 153 (alleging reliance). But Plaintiff fails to mention that in those same
19   warranties and representations, he acknowledged that “[t]he information provided on the Website
20   is for general information purposes,” “may not be complete or accurate for your purposes and
21   should not be relied upon without further enquiry,” nor should such information be “construed as
22   a recommendation to trade or engage the Service provided by BitMEX in a particular manner.”
23   SAC Ex. 17 § 6.1(d) accord Hibbard Decl. Ex. A § 6.2(a). Plaintiff cannot claim to have relied
24   on the liquidity statement while at the same time invoking the warranties and representations in
25   the Terms of Service that disclaim such reliance. See Princess Cruise Lines, Ltd. v. Superior Ct.,
26   179 Cal. App. 4th 36, 43-44 (2009) (applying “pragmatic perspective” in reviewing inconsistent
27   reliance contentions and finding “no reliance”).
28          Still more authorities compel dismissal of the complaint for its failure to plead reliance.
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 1   In Dix v. Nova Benefit Plans, LLC, the court dismissed a misrepresentation claim when, although
 2   the plaintiffs alleged that they relied on the defendant’s misrepresentations in deciding to
 3   purchase a tax planning instrument, the plaintiffs’ other “affirmative allegations” showed that
 4   they were still unsure of whether to purchase the instrument after reading the misrepresentations.
 5   See 2015 WL 12859221, at *6 (C.D. Cal. Apr. 28, 2015). Similarly, in Guttmann v. La Tapatia
 6   Tortilleria Inc., the court held that the plaintiff failed to plausibly plead reliance when, although
 7   the plaintiff claimed to have relied on the defendant’s misrepresentation that its tortillas contained
 8   “0g Trans Fat,” that allegation was undercut by the plaintiff’s own admissions that he had
 9   extensive knowledge of trans-fats and labeling practices. 2015 WL 7283024, at *4 (N.D. Cal.
10   Nov. 18, 2015). Further, in Shaeffer v. Califia Farms, LLC, the court affirmed the dismissal of a
11   complaint alleging a misrepresentation where plaintiff’s own “affirmative allegations [showed]
12   that she actually relied on other reasons in deciding whether to buy” the product at issue. 44 Cal.
13   App. 5th 1125, 1144 (2020). Just as the alleged facts in those cases negated any inference of
14   reliance, so too here. Plaintiff’s own alleged trading activity—e.g., trading Ethereum-related
15   products even though the liquidity statement related only to Bitcoin—and his acknowledgment
16   that he would not rely upon information on the Website “without further enquiry” refute any
17   actual or reasonable reliance on the liquidity statement.
18                          (d)     Plaintiff has not pled facts to show that the alleged liquidity
                                    representation caused any purported damages.
19

20          Plaintiff alleges that he suffered losses because of Defendants’ purported
21   misrepresentation pertaining to the platform’s liquidity. But that conclusory allegation of
22   causation is not supported by particularized facts, and thus Plaintiff lacks Article III standing. See
23   supra at § IV.B.1.b.
24          Plaintiff’s causation allegation lacks particularity. Plaintiff contends (repeatedly) that the
25   platform’s “insufficient” liquidity caused “price slippage” and “staggering price plunges” to his
26   detriment. SAC ¶¶ 96, 120. But nothing in the SAC suggests that Plaintiff actually experienced
27   any “price slippage”—or, as defined in the SAC, the “inability to fill market orders at the current
28   market price.” SAC ¶ 96 n.4. Nor does Plaintiff explain, with facts, how allegedly insufficient
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 1   liquidity on the platform led to “staggering price plunges” resulting in any loss to him. Stating in
 2   generalities that “insufficient” liquidity may contribute to price plunges is not enough. Plaintiff
 3   must explain how the liquidity on BitMEX (and not on its index constituents) specifically resulted
 4   in a price drop that caused him harm.
 5          Plaintiff fails to do that. For example, nowhere does Plaintiff explain what he means by
 6   “insufficient” liquidity, or how one determines what amount of liquidity is “sufficient.” The
 7   wholesale absence of any particularity here compels dismissal. See, e.g., Hall v. Time Inc., 158
 8   Cal. App. 4th 847, 857 (2008) (affirming order sustaining demurrer for lack of causation where
 9   plaintiff “did not allege he did not want” the product or that defendant’s misrepresentations
10   “induced him to keep [the product] he otherwise would have returned”). 12
11          Plaintiff’s own pleadings further refute causation. As the pleadings demonstrate, Plaintiff
12   had access to “live trading” information, which provided him with direct access to the platform’s
13   liquidity in real time. See SAC ¶ 84. Further evidencing Plaintiff’s direct access to liquidity
14   information, the screenshots of actual trading metrics (including bid and ask figures) in the
15   complaint undermine the claim that the liquidity statement on the website was the cause of his
16   trading activity and purported losses, as Plaintiff made trades against the backdrop of such data.
17   See SAC ¶ 104. And Plaintiff previously acknowledged that he had access to and relied on the
18   “visible order book” when trading. See Compl. ¶ 408. Put another way, Plaintiff’s active trading,
19   along with his undisputed access to real-time liquidity information, “interrupt[s] the causal chain”
20   between the liquidity statement on the website and his alleged damages. Frome v. Renner, 1997
21   WL 33308718, at *2 (C.D. Cal. Oct. 1, 1997) (dismissing complaint where damages were not
22   “proximately caused by” defendant’s “misrepresentation” of his identity in conducting
23
            12
                See also Laster v. T-Mobile USA, Inc., 407 F. Supp. 2d 1181, 1194 (S.D. Cal. 2005)
24   (dismissing complaint because, even though “Plaintiffs [had] meticulously describe[d] the
     allegedly misleading advertisements,” plaintiffs failed to allege facts showing “they entered into
25   the transaction as a result of those advertisements”); Rossberg v. Bank of Am., N.A., 219 Cal.
     App. 4th 1481, 1500 (2013) (plaintiffs’ “conclusory allegation [that they] could have sold their
26   home and paid off their loans does not state a cause of action” where they did not allege the value
     of their home at the relevant time, how much they owed on their loan, or whether they could have
27   sold their home for more than they owed); Durrell v. Sharp Healthcare, 183 Cal. App. 4th 1350,
     1355, 1363 (2010) (affirming demurrer of complaint alleging UCL claim based on
28   misrepresentations because of plaintiff’s failure to satisfy causation requirement).
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 1   investigation into plaintiff’s medical practices but by plaintiff’s own actions); Hall, 158 Cal. App.
 2   4th at 856 (“Even if the plaintiffs could have established the fee notice posted on Bank of
 3   America’s ATM’s was insufficient, they could not establish causation of loss because the ATM
 4   customer was required to accept the imposition of an additional fee by means of an on-screen
 5   prompt during the ATM transaction.”) (citing Brown v. Bank of Am., N.A., 457 F. Supp. 2d 82, 89
 6   (D. Mass. 2006)). With such trading information at hand, causation cannot be properly pled.
 7          Plaintiff also asserts various categories of damages that supposedly resulted from the
 8   website’s liquidity statement. But all of these claims to damages fail, since Plaintiff cannot
 9   properly plead causation as to any damages, as discussed above. In any event, each of these
10   categories of damages is insufficient on its own terms.
11          Loss of Use Damages. Plaintiff claims that he would have opened an interest-bearing
12   account and not a BitMEX trading account had he known about the actual amount of liquidity on
13   the platform. See SAC ¶ 117. That conclusory assertion does not state a claim. Plaintiff alleges
14   no particular facts to suggest that he ever sought to invest Bitcoin in interest-bearing accounts
15   (rather than to trade). For example, Plaintiff does not allege that he made deposits in interest-
16   bearing accounts before trading on BitMEX or that he withdrew Bitcoin from such interest-
17   bearing accounts in order to make deposits on BitMEX. Indeed, Plaintiff concedes that he still
18   would have traded on other platforms. See SAC ¶ 122. Any loss of interest is thus the result of
19   Plaintiff’s own, independent decisions to trade in the cryptoderivative marketplace, which as
20   discussed were not induced by the alleged liquidity representations. See supra at § IV.B.2.c.
21          Trading Commissions. Plaintiff next claims that he would not have engaged in trades on
22   the platform (thus incurring expenses to pay “commissions”) had he known “the truth about
23   liquidity on BitMEX.” See SAC ¶ 122. But as discussed, Plaintiff provides no facts to suggest
24   that the website’s liquidity statement actually induced him to make trades in the first place or that
25   he did not have real-time access to data reflecting the liquidity of the products he traded on
26   BitMEX. See supra at § IV.B.2.c. Moreover, although Plaintiff contends that he would have
27   paid less in “trading commissions” on other platforms, he fails to account for the differences in
28   products that those platforms offered (e.g., Plaintiff alleges OKEx offered undefined futures, not
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 1   perpetual contracts with up to 100x leverage, SAC ¶¶ 98, 100 n.8) and the different fee structures
 2   the platforms offered (e.g., Plaintiff focuses solely on fees for “taker” positions, rather than
 3   averaging the rebates and fees associated with “maker” and “taker” positions, respectively, id.
 4   ¶ 122, presumably because BitMEX offered a rebate for “maker” positions that results in lower
 5   average fees than alleged). Because Plaintiff alleges no facts to indicate that the alleged trading
 6   “commissions” relate even to comparable products, Plaintiff’s allegation about incurring damages
 7   in the form of higher trading “commissions” fails. In any event, trading “commissions” cannot as
 8   a matter of law be conceived as damages when, through payment of those fees, Plaintiff received
 9   the benefit of the bargain agreed upon in the Terms of Service by opening, maintaining, and
10   closing trading positions. See Birdsong v. Apple, Inc., 590 F.3d 955, 961 (9th Cir. 2009)
11   (affirming dismissal of UCL claim where plaintiffs had “not alleged that they were deprived of an
12   agreed-upon benefit” but rather their alleged injury was premised on loss of a “benefit that was
13   not part of the bargain to begin with”).
14          Contract Costs. Plaintiff further contends that he incurred higher costs than he should
15   have for purchasing contracts due to the allegedly misrepresented liquidity. See SAC ¶ 106. But
16   Plaintiff does not allege any facts showing that the alleged contract costs failed to reflect
17   appropriate risk levels at the time he purchased the contracts. Nonetheless insisting he was
18   “overcharged,” Plaintiff offers no particulars as to how he was overcharged or by how much.
19   SAC ¶ 107. Instead, Plaintiff includes a sketch of a graph with a hand-drawn curve that purports
20   to show the “damages” resulting from the increased “cost” due to the alleged liquidity
21   misrepresentation. Id. ¶ 108. But as acknowledged in Plaintiff’s own pleadings, contract “costs”
22   were related to “leverage” (not “liquidity”). SAC ¶ 104. In any event, the graph contains no
23   numbers or metrics (as one would expect there to be) that would allow an inference that damages
24   were incurred from the liquidity statement. Neither Plaintiff’s skeletal allegations nor his attempt
25   at a graph comes close to satisfying the particularity requirements of Rule 9(b).
26          Trading Losses. Plaintiff further asserts that the liquidity representation caused his trading
27   losses. See SAC ¶¶ 105, 120. But that assertion also lacks merit. Plaintiff alleges no facts to
28   support an inference that any liquidity representation proximately caused his trading losses. No
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 1   facts are pled showing that Plaintiff’s trading losses were caused by anything other than the
 2   closing of his positions (as opposed to a liquidity representation). See Pac. Select Fund v. Bank
 3   of N.Y. Mellon, 2010 WL 11468787, at *4 (C.D. Cal. Sept. 20, 2010) (no proximate causation
 4   where “alleged losses were not the result of relying on Defendant’s alleged misrepresentations,
 5   but were the result of Sigma’s financial downfall”). 13 Indeed, Plaintiff does not even plausibly
 6   allege that his positions were, in fact, ever liquidated; rather, he revised his core allegations to
 7   claim that his “contracts were wrongfully liquidated or otherwise closed.” SAC ¶ 119 (emphasis
 8   added); see also Dkt. 23 at 3. Without specifically alleging liquidation, Plaintiff cannot claim
 9   recovery of trading loss damages from liquidations. And even assuming his positions were
10   liquidated, Plaintiff’s contention that the purported manipulation by the “insider trading desk”
11   caused those liquidations (see SAC ¶ 154) contradicts his claim here that the liquidity statement
12   was the cause—an inconsistency that additionally warrants the claim’s dismissal. See Anderson,
13   2017 WL 1179142, at *3 (“[W]here the allegations contradict each other, very little can be
14   inferred factually to supply the essential elements of his claim.”).
15          C.      Plaintiff’s Federal Claims Are Deficient in Multiple Additional Respects.
16          Plaintiff’s federal claims (Counts 14-19, brought under the CEA) fail for the reasons
17   stated above, as those claims are premised on the fraudulent inducement and related market
18   manipulation theories for which Plaintiff has failed to state a claim. Even if Plaintiff could clear
19   the threshold hurdles identified above, Plaintiff’s federal claims fail because Plaintiff does not
20   properly plead claims under the CEA. Plaintiff brings a claim of fraudulent solicitation based on
21   purported misrepresentations (Count 14); claims of using a manipulative device or contrivance
22   through the “insider trading desk” (Count 15) and server freezes and overloads (Count 16); a
23   claim of price manipulation by the “insider trading desk” (Count 17); a claim of “principal agent
24
            13
                See also Goehring v. Chapman Univ., 121 Cal. App. 4th 353, 365 (2004) (former
25   student’s “damages were not caused by alleged misrepresentations that induced him to attend
     Chapman, but by his academic dismissal…. [H]is complaint was not based on wrongful
26   dismissal, but on false representations that induced him to enroll and reenroll in Chapman.”);
     Serv. by Medallion, Inc. v. Clorox Co., 44 Cal. App. 4th 1807, 1819 (1996) (holding that “the
27   termination [of the contract], not the misrepresentation . . . resulted in the alleged harm” and thus
     the plaintiff’s supposed “reliance” on that misrepresentation does “not constitute ‘detriment
28   proximately caused’ by [the defendant’s] conduct”).
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 1   liability” based on alleged operations of the “insider trading desk” and alleged fraudulent
 2   solicitations (Count 18); and a claim of aiding and abetting purported CEA violations involving
 3   the “insider trading desk” and market manipulation by third party “Ben Aabtc” (Count 19).
 4          None of these claims under the CEA can survive dismissal. This Court already dismissed
 5   with prejudice nearly identical claims alleged in BMA (see BMA Order 18-22), and should
 6   similarly dismiss the claims here. With respect to his manipulation-related claims (Counts 15, 16,
 7   17, 19), Plaintiff must allege that “(1) Defendants possessed an ability to influence market prices;
 8   (2) an artificial price existed; (3) Defendants caused the artificial prices; and (4) Defendants
 9   specifically intended to cause the artificial price.” BMA Order 18 (quoting In re Amaranth Nat.
10   Gas Commodities Litig., 730 F.3d 170, 173 (2d Cir. 2013)). But Plaintiff has alleged no adequate
11   facts to support any of those elements. See also BMA Order 19. Nor has Plaintiff alleged “facts
12   that give rise to a strong inference of scienter.” Id. (quoting In re Commodity Exch., Inc., 213 F.
13   Supp. 3d 631, 668 (S.D.N.Y. 2016)). Put another way, Plaintiff’s conclusory allegations of
14   specific intent “are not as least as strong as competing inferences that [his] losses were caused by
15   natural market forces or manipulation by third parties.” BMA Order 19.
16          Plaintiff’s claims relating to fraudulent solicitation likewise fail (Counts 14, 18). To the
17   extent those claims are even cognizable under the CEA, Plaintiff must allege: “(1) a material
18   misrepresentation (or omission); (2) scienter; (3) a connection with the purchase or sale of
19   security; (4) reliance (transaction causation); (5) economic loss; and (6) loss causation.” BMA
20   Order 19. But Plaintiff provides no specific allegations as to what any of the purported
21   misrepresentations were that form the basis of his fraudulent solicitation claims. And to the
22   extent those claims refer to the purported representations about the trading arm and liquidity, the
23   claims fail for the reasons discussed above. See supra at § IV.B.2. Because Plaintiff does not
24   allege viable manipulation or fraudulent-solicitation claims, Plaintiff’s claim for principal-agent
25   liability (Count 18) also fails. See also BMA Order 20.
26          Plaintiff’s claim for aiding and abetting CEA violations (Count 19) fails too. To plead
27   such a claim, Plaintiff must allege that Defendants “(1) had knowledge of the principal’s intent to
28   violate the CEA; (2) intended to further that violation; and (3) committed some act in furtherance
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 1   of the principal’s objective.” BMA Order 21 (quoting In re Nat. Gas Commodity Litig., 337 F.
 2   Supp. 2d 498, 511 (S.D.N.Y. 2004)). Plaintiff alleges that Defendants aided and abetted each
 3   other, “Gregory Dwyer, Stuart Elkington, and Nick Andrianov, the notorious market manipulator
 4   Ben Aabtc and unknown third persons” in the “manipulation of cryptocurrency prices through
 5   manipulative trades, and substantially and willfully intended to assist these manipulations to
 6   cause artificial prices[.]” SAC ¶ 410. But absent any specificity regarding the manner in which
 7   Defendants aided and abetted, or how their purported conduct caused Plaintiff’s supposed losses
 8   in July 2019, these conclusory assertions do not state a claim. See also BMA Order 21 (holding
 9   nearly identical assertions to be “conclusory and speculative”).
10          D.       Plaintiff’s State-Law Claims Are Likewise Deficient in Multiple Respects.
11          The pleading deficiencies discussed above require dismissal of Plaintiff’s statutory and
12   common-law claims under California law as well. This Court already rejected nearly identical
13   state-law claims made in BMA (see BMA Order at 24-28), and so the claims here should be
14   rejected too. Those claims are premised on the same fraudulent inducement theories alleging
15   purported market manipulation and misrepresented liquidity. Because those theories have been
16   inadequately pleaded, the state-law causes of action alleged in the SAC fail. They are also
17   deficient for the reasons discussed below.
18                  1.      The State Statutory Claims Fail.
19          Plaintiff alleges claims under several California statutes—the Unfair Competition Law
20   (Counts 1-4, 11, 12), the False Advertising Law (Count 9), the Consumers Legal Remedies Act
21   (Count 10), and Cal. Penal Code § 496 (Count 21). None of these claims can overcome
22   dismissal.
23                          (a)     Plaintiff lacks standing to pursue his statutory claims.
24          To start, Plaintiff lacks standing to pursue claims under the UCL, FAL, and CLRA. To
25   obtain relief under those statutes, Plaintiff must allege facts that he suffered harm because of
26   Defendants’ statutory violation. See, e.g., Shaeffer, 44 Cal. App. 5th at 1137. Plaintiff here does
27   not satisfy this threshold element. Like his fraudulent inducement claims, Plaintiff’s statutory
28   claims are predicated upon purported misrepresentations and omissions from the BitMEX Terms
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 1   of Service, website, or otherwise. But Plaintiff offers no facts supporting that his purported
 2   reliance on those misrepresentations was the cause of his purported losses. See supra at
 3   §§ IV.B.1.b, IV.B.2.d. Indeed, and again, Plaintiff does not even clearly state that his positions
 4   were liquidated as opposed to voluntarily closed. Plaintiff’s failure to tie any purported losses
 5   back to any conduct by Defendants bars his statutory claims.
 6                          (b)      Plaintiff’s UCL claims are independently deficient.
 7          Plaintiff alleges UCL violations predicated on the statute’s prohibitions against “unfair,”
 8   “fraudulent,” and “unlawful” business practices. Those claims fail for lack of standing, as
 9   discussed above, and they are deficient for other reasons as well.
10          Plaintiff asserts UCL claims predicated on the statute’s “unfair” prong alleging
11   misrepresentations about the platform’s liquidity (Count 1), misrepresentations about the “insider
12   trading desk” (Count 2), omission of material facts about the “insider trading desk” (Count 3),
13   and aiding and abetting market manipulation by Ben Aabtc (Count 4). But a practice is “unfair”
14   under the UCL only when it is “‘tethered’ to specific constitutional, statutory or regulatory
15   provisions.” Nationwide Biweekly Admin., Inc. v. Superior Ct., 9 Cal. 5th 279, 303 n.10 (2020).
16   Plaintiff’s conclusory allegations—which do not state with specificity any misrepresentation, let
17   alone any misrepresentation tied to any specific provision that was actually relied upon and
18   caused his alleged losses—fail to satisfy that standard. 14
19          Plaintiff’s UCL claim predicated on the “fraudulent” prong (Count 11) based on the same
20   purported misrepresentations fares no better. Because Plaintiff does not adequately allege any
21   misrepresentation, reliance on a material misrepresentation, or causation, as discussed above, the
22   “fraudulent” UCL claim fails.
23          Plaintiff’s UCL claim predicated on the “unlawful” prong (Count 12) also cannot survive
24   dismissal. This claim is based on violations of the CEA, FAL, and CLRA. Because Plaintiff
25   cannot state a claim with respect to any of those statutes (supra at § IV.C; infra at § IV.D.1.c-d),
26
            14
                Appellate courts are divided as to the proper test for evaluating the “unfair” prong of the
27   UCL. See Nationwide Biweekly Admin., 9 Cal. 5th at 303 n.10. Regardless of the test applied,
     Plaintiff’s claim fails because he does not allege any plausible misconduct by Defendants or that
28   Defendants’ conduct caused his alleged losses.
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 1   this UCL claim fails.
 2                           (c)    Plaintiff’s FAL claim is also independently deficient.
 3          Plaintiff’s FAL claim is predicated on the same purported misrepresentations about
 4   HDR’s trading arm and BitMEX’s liquidity that underlie his fraudulent inducement claims. SAC
 5   ¶ 311. He cannot prevail under the FAL if the representations were true. See Consumer Advocs.
 6   v. Echostar Satellite Corp., 113 Cal. App. 4th 1351, 1360 (2003). Because Plaintiff has not
 7   adequately pleaded that the alleged representations were false or that he relied upon them,
 8   Plaintiff’s FAL claim fails. See Great Pac. Sec., 2016 WL 11502178, at *16 (dismissing UCL
 9   and FAL claims for failure to adequately plead reliance).
10                           (d)    Plaintiff’s CLRA claim is independently deficient as well.
11          Like Plaintiff’s FAL claim, the CLRA claim here is predicated on the same purported
12   misrepresentations underlying his fraudulent inducement claims. To prevail, Plaintiff must allege
13   that Defendants represented that a good or service “had any characteristic they do not have, or are
14   of a standard or quality they are not”—i.e., a misstatement or omission. See, e.g., Daugherty v.
15   Am. Honda Motor Co., 144 Cal. App. 4th 824, 834 (2006). But as discussed, Plaintiff fails to
16   establish that Defendants made any such misrepresentation. See also In re Seagate Tech. LLC
17   Litig., 233 F. Supp. 3d 776, 790 (N.D. Cal. 2017) (“Plaintiffs must plead the falsity of affirmative
18   representations with specificity,” such as by identifying “other source[s] of information”
19   revealing the true facts). Plaintiff’s conclusory statement that “Defendants’ acts alleged in
20   paragraphs above violate the [CLRA]” (SAC ¶ 320)—where the paragraphs above are themselves
21   deficient—does not come close to satisfying basic pleading requirements.
22                           (e)    Plaintiff’s claim under Cal. Penal Code § 496 is also deficient.
23          Plaintiff bases this statutory claim on the same alleged misrepresentations concerning the
24   trading arm and purported market manipulation. See SAC ¶¶ 426-27. Section 496(a) of the Penal
25   Code “prohibits the obtaining of property ‘in any manner constituting theft.’” Calhoun v. Google
26   LLC, 526 F. Supp. 3d 605, 635 (N.D. Cal. 2021). “Theft” includes obtaining property “by any
27   false or fraudulent representation or pretense.” Cal. Penal Code § 484(a). As discussed, Plaintiff
28   fails to allege specifics facts supporting any false or fraudulent representation or pretense, and so
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 1   his claim under § 496 fails.
 2                  2.      The State Common Law Claims Fail.
 3          Plaintiff also asserts a series of common law claims under California law. See SAC Count
 4   5 (deceit), Count 6 (fraudulent inducement), Count 7 (negligent misrepresentation), Count 8
 5   (rescission for negligent misrepresentation), Count 13 (negligence), Count 20 (restitution under
 6   quasi-contract). None of these claims alleges sufficient facts to survive dismissal.
 7                          (a)     Plaintiff’s negligence-related claims fail.
 8          Plaintiff’s negligence-related claims (Counts 7, 8, 13) rely on an argument this Court has
 9   already rejected multiple times in the related BMA action: that Plaintiff and Defendants have a
10   “special relationship” giving rise to a duty to “maintain a functional and fair cryptoderivatives
11   trading marketplace.” SAC ¶¶ 353, 355; see BMA Order 26-27. While the specific plaintiff
12   advancing that argument has changed, the argument’s fatal flaws remain the same.
13          Namely, the parties are in privity of contract and the duty alleged by Plaintiff merely
14   restates HDR’s contractual obligation “to maintain an orderly market.” SAC Ex. 17 § 1.11
15   (BitMEX Terms of Service); Hibbard Decl., Ex. A § 1.12. As this Court correctly held in
16   dismissing the pleadings in BMA, any such argument that Defendants are liable for “‘negligent
17   breach of contractual duties owed directly to plaintiffs’ has been squarely rejected by Aas v.
18   Superior Ct., 24 Cal. 4th 627, 643 (2000).” BMA Order 27; see Aas, 24 Cal. 4th at 643 (“A
19   person may not ordinarily recover in tort for the breach of duties that merely restate contractual
20   obligations.”); Stop Loss Ins. Brokers, Inc. v. Brown & Toland Med. Grp., 143 Cal. App. 4th
21   1036, 1042–43 (2006) (holding that a party in privity with defendant “may not recover in tort for
22   [defendant’s] breach of a contractual obligation.”). Accordingly, Plaintiff has failed to allege a
23   duty on which his negligence claims may be based. 15
24
            15
25             This is true not only for Plaintiff’s general negligence theory, but also for his negligence
     per se theory, which he explicitly bases on the same duty to “maintain a functional and fair
26   cryptoderivatives trading market place.” SAC ¶ 355. The negligence per se doctrine “does not
     provide a duty of care, but may establish a relevant standard when a duty already exists.” See
27   Alvarez v. MTC Fin. Inc., 2017 WL 1861844, at *4 n.9 (N.D. Cal. May 9, 2017) (emphasis
     added). Thus, the statutes and regulations cited in Plaintiff’s negligence per se allegations do not
28   separately provide a duty on which his claims may be based. Put otherwise, the negligence per se
     doctrine “does not provide a private right of action for violation of a statute.” Quiroz v. Seventh
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 1          Plaintiff attempts to avoid this result by citing Judge Massullo’s decision in Kanyshev (see
 2   SAC ¶ 353), which ultimately sustained Defendants’ demurrer on causation grounds but first held
 3   that Defendants owed a duty of care. Kanyshev Order 22. Judge Massullo reached that incorrect
 4   conclusion by relying on North American Chemical for the proposition that a special relationship
 5   may exist under J’Aire and Biakanja when parties are in contract for services. Id. at 19 (citing N.
 6   Am. Chem. Co. v. Superior Ct., 59 Cal. App. 4th 764, 774 (1997); J’Aire Corp. v. Gregory, 24
 7   Cal. 3d 799 (1979); Biakanja v. Irving, 49 Cal.2d 647 (1958)). But Judge Massullo’s decision did
 8   not address Stop Loss, which—nine years after North American Chemical—held that J’Aire
 9   applies only when the negligent performance of a contract injures a third party. 143 Cal. App.
10   4th at 1042–43. As Stop Loss explained, neither J’Aire nor Biakanja involved situations where
11   the parties were in privity of contract, and “[i]nvoking the Biakanja factors to create a tort duty in
12   the absence of injury to a third party would circumvent [the economic loss] rule and blur the
13   law’s distinction between contract and tort remedies.” Id. at 1043.
14          The Ninth Circuit’s recent decision in Berk confirms that Stop Loss, not North American
15   Chemical, provides the governing rule here. Berk v. Coinbase, Inc., 840 F. App’x 914 (2020).
16   Like Plaintiff here, the plaintiff in Berk argued that the defendant “owed an independent duty of
17   care to ensure a functioning marketplace for [Bitcoin Cash] pursuant to [Biakanja].” Id. at 915.
18   The Ninth Circuit rejected that argument, citing Stop Loss and reasoning that J’Aire and Biakanja
19   did not apply because the parties were in privity through Coinbase’s user agreement. Id. at 915–
20   16. Here too, because the parties are in privity through the BitMEX Terms of Service, J’Aire and
21   Biakanja are inapplicable. 16
22          In any event, as both Judge Massullo and this Court have consistently held in the face of
23
     Ave. Ctr., 140 Cal. App. 4th 1256, 1285 (2006).
24           16
                Moreover, HDR expressly disclaims liability for service interruptions and warns users
     that the website is dependent on technical systems that may intermittently prevent access. The
25   Terms of Service specifically provide that no warranties exist as to users’ trading activity or the
     use of the platform, including related service interruptions, and that users “assume full
26   responsibility and risk of loss resulting from your use of the Service.” SAC Ex. 17 § 7.5; Hibbard
     Decl. Ex. A § 7.4. “By contractually agreeing to assume all the risks of” trading on BitMEX,
27   including the risk that Service may be interrupted, Plaintiff “consented to [the] acts or
     omissions … which [may] otherwise be negligent.” Coates v. Newhall Land & Farming, Inc.,
28   191 Cal. App. 3d 1, 10 (1987).
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 1   substantially similar allegations, Plaintiff’s negligence claims also fail because Plaintiff has failed
 2   to adequately allege causation. See Kanyshev Order 22; BMA Order 27. The SAC alleges that
 3   Plaintiff sustained losses due to (a) server freezes on the BitMEX platform on July 11, 2019, and
 4   (b) Defendants’ failure to prevent market manipulation. SAC ¶ 349, 356–58. But Plaintiff does
 5   not plead any non-conclusory factual allegations regarding any server outages that purportedly
 6   occurred on July 11. And as this Court held in BMA, Plaintiff’s speculative third-party market
 7   manipulation allegations fail to adequately plead a temporal connection between the third-party
 8   manipulation and Plaintiff’s losses. See SAC ¶ 356; see also ¶¶ 252, 253, 262; BMA Order 9-10.
 9   To the extent Plaintiff also claims market manipulation through insider trading by Defendants’
10   employees, see SAC ¶ 350, such allegations involve intentional—rather than negligent—conduct.
11   Thus, Plaintiff’s negligence claims must be dismissed.
12                          (b)     Plaintiff’s remaining state-law claims fail.
13          Plaintiff’s remaining state-law claims—deceit (Count 5), fraudulent inducement (Count 6)
14   and restitution under quasi-contract (Count 20)—fail for the reasons stated above. Nothing in the
15   pleadings offers particular facts to support these claims. The deceit count fails because it is
16   merely derivative of Plaintiff’s flawed theories of fraud. With respect to the fraudulent
17   inducement count, addressed in detail above, Plaintiff further asserts that the Service Agreement
18   between the parties is also “voidable” and “unenforceable” because the agreement is “both
19   procedurally and substantively unconscionable.” SAC ¶ 293 & n.25. But beyond such
20   conclusory legal assertions, Plaintiff provides no facts as to why that is so. Even sparser is
21   Plaintiff’s restitution claim, as it relies merely on the deficient allegations made elsewhere in the
22   complaint in arguing that Defendants derived “unjust enrichment” from their alleged conduct. Id.
23   ¶¶ 415, 422. These lingering state-law claims should be dismissed.
24   V.     CONCLUSION
25          For the foregoing reasons, and because Plaintiff has now had three attempts to state a
26   claim, this Court should dismiss the SAC with prejudice.
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 1    DATED: December 17, 2021                 Respectfully submitted,
 2                                             JONES DAY
 3

 4                                             By: /s/ Stephen D. Hibbard
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                                               Counsel for Defendants
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                                               ABS GLOBAL TRADING LIMITED
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 1           I, Stephen D. Hibbard, am the ECF User whose ID and password are being used to file
 2   this DEFENDANTS’ NOTICE OF MOTION AND MOTION TO DISMISS PLAINTIFF’S
 3   SECOND AMENDED COMPLAINT; MEMORANDUM OF POINTS AND AUTHORITIES IN
 4   SUPPORT THEREOF. In compliance with Civil L.R. 5-1(h)(3), I hereby attest that all
 5   signatories concur in this filing.
 6   DATED: December 17, 2021
 7
                                                         /s/ Stephen D. Hibbard
 8                                                       STEPHEN D. HIBBARD
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